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22
                                 IN THE UNITED STATES DISTRICT COURT
23
               FOR THE NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
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     JESUS ABRAHAM LOPEZ-GUTIERREZ,                     Case No. 17-cv-05822-BLF
 1   ALAN ULISES MEZA-LUGO, GUSTAVO                     JOINT CASE MANAGEMENT
                                                        STATEMENT & RULE 26(F) REPORT
 2   CEJA-ALVARO, and PAULINO CORTEZ-
     VASQUEZ,                                           Hon. Beth Labson Freeman
 3                                                      Date: December 21, 2017
            Plaintiffs,                                 Time: 11:00 a.m.
 4                                                      Ctrm: 3, 5th Fl.
     v.
 5

 6   FOOTHILL PACKING, INC., AND DOES 1-
     20, INCLUSIVE,
 7
            Defendant.
 8

 9                      CASE MANAGEMENT TATEMENT AND RULE 26(F) REPORT

10          Plaintiffs JESUS ABRAHAM LOPEZ-GUTIERREZ, ALAN ULISES MEZA-LUGO,

11   GUSTAVO CEJA-ALVARO, and PAULINO CORTEZ-VASQUEZ (“Plaintiffs”) and Defendant

12   FOOTHILL PACKING, INC. (“Foothill”), by and through their counsel, have met and conferred pursuant

13   to Rule 26(f) of the Federal Rules of Civil Procedure, Local Rule 16-9, and the Court’s Order Setting

14   Initial Case Management Conference and ADR Deadlines. Pursuant to the foregoing, the parties to the

15   above-entitled action jointly submit this Joint Case Management Conference Statement and Rule 26(f)

16   Report .

17   1.     Jurisdiction & Service

18          Defendant removed this case to this jurisdiction based on 28 U.S.C. Section 1331 (1980). Plaintiffs

19   have not challenged removal. All the parties except DOES have been served and all responsive pleadings

20   have been filed.

21   2.     Facts

22          Plaintiffs JESUS ABRAHAM LOPEZ-GUTIERREZ, ALAN ULISES MEZA-LUGO,

23   GUSTAVO CEJA-ALVARO and PAULINO CORTEZ-VAZQUEZ are former field workers for

24   Defendant Foothill Packing, Inc., a farm labor contractor, based in Salinas, California. Plaintiffs are all

25   H-2A workers who allege that they worked in California during the 2016 and 2017 seasons harvesting

26   lettuce for Defendant Foothill Packing, Inc. Plaintiffs allege they were not paid for all hours worked,

27   including time waiting in the field before the start of the workday, for preparatory time and for mandatory

28                                                        2
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                                                                                  Inc. Case No. 5:17-cv05822 BLF
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 1   exercises. Plaintiffs JESUS ABRAHAM LOPEZ-GUTIERREZ, ALAN ULISES MEZA-LUGO allege

 2   that they were required to ride, wait on, or wait for Defendant’s vehicles in excess of one and a half (1.5)

 3   hours per day for the duration of the 2016 season and were not compensated for this time. All Plaintiffs

 4   allege that Defendant prepared and calculated Plaintiffs’ pay in a manner that violated California law.

 5   Plaintiffs JESUS ABRAHAM LOPEZ-GUTIERREZ, ALAN ULISES MEZA-LUGO filed this action on

 6   their and on other workers’ behalf to vindicate their employee rights under the Private Attorney General

 7   Act (PAGA). Defendant denies that it violated any of Plaintiffs’ rights, as alleged above.

 8              a. Undisputed Facts

 9          Plaintiffs were employed through Defendant FOOTHILL PACKING, INC., as seasonal

10   agricultural laborers during the 2016 and 2016-2017 lettuce seasons. Plaintiffs are H-2A workers from

11   Mexico who were recruited by Defendant FOOTHILL PACKING, INC. to work in fields owned and

12   operated by Defendant FOOTHILL PACKING, INC’s clients. Defendant FOOTHILL PACKING, INC.

13   submitted multiple job orders which were certified by the U.S. Department of Labor requesting workers

14   for the 2016 and 2016-2017 lettuce seasons. Defendant FOOTHILL PACKING, INC. offered and

15   Plaintiffs accepted employment under the terms of the H-2A orders. For work in California Plaintiffs were

16   promised the higher of the contractual wages of $11.89 (during 2016) and $12.57 (during 2017) per hour,

17   the prevailing wage or piece rate, or the state or federal minimum wage. Plaintiffs were paid by the hour

18   and piece rate.

19              b. Principal Factual Disputes

20      The parties disagree on the following factual issues:

21      a. Whether Defendant adequately compensated Plaintiffs for all “hours worked” as defined by Wage

22          Order 14 and other applicable law.

23      b. Whether Plaintiffs were “required” to ride, wait on, or wait for Defendant’s vehicles to travel from

24          employer-housing to the fields.

25      c. Whether Plaintiffs were required to wait in the field prior to starting work without being

26          compensated for that time.

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 1      d. Whether Plaintiffs were not compensated for pre-shift activities including, for example,

 2          disinfecting knives and donning gloves and aprons.

 3      e. Whether Defendant provided Plaintiffs adequate meal and rest periods.

 4      f. Whether Defendant required Plaintiffs to wash their hands and walk back to the field

 5          approximately ten minutes before the end of each meal period.

 6      g. Whether, as a result of the alleged failure to compensate for all “hours worked,” Plaintiffs are

 7          entitled to overtime premiums, contractual wages and associated Labor Code violations including

 8          failure to pay minimum wage in violation of Labor Code § 1194.2, Failure to provide accurate

 9          wage statements in violation of Labor Code § 226, waiting time penalties per Labor Code §§ 201-

10          203, and unlawful and or unfair business practices pursuant to California Business and Professions

11          Code §§ 17200-17208.

12   Defendant alone believes that these are disputed material facts:

13      h. Whether some portion or all of Plaintiffs’ Lopez-Gutierrez and Meza-Lugo’s claims under the

14          Private Attorneys General Act (“PAGA”) are barred by the one-year statute of limitations that

15          applies to penalties under California Code of Civil Procedure section 340(a), as Plaintiffs failed to

16          timely issue their PAGA letter to the LWDA or initiate their claim in a timely manner under the

17          code.

18      i. Whether Plaintiffs adequately exhausted their administrative remedies including those with the

19          California Labor and Workforce Development agency.

20      The parties recognize that discovery is ongoing and additional disputed facts may be discovered as

21   discovery continues.

22              c. Statement of Legal Issues

23   Plaintiffs contend that the following legal issues are before the Court:

24      a. Whether Defendant failed to record and pay Plaintiffs minimum and overtime wages for all

25          compensable hours.

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 1      b. Whether Defendant is liable and failed to pay Plaintiffs JESUS ABRAHAM LOPEZ-

 2          GUTIERREZ, ALAN ULISES MEZA-LUGO for travel time, Morillion v. Royal Packing Co., 22

 3          Cal. 4th 575, 995 P.2d 139, 94 Cal. Rptr. 2d 3, (2000);

 4      c. Whether Defendant is liable and failed to pay Plaintiffs for time waiting in the field before the start

 5          of the workday, for preparatory time and for mandatory exercises (Industrial Welfare Commission

 6          Order No. 14-2001);

 7      d. Whether Defendant’s policies and practices of excluding compensable time waiting, exercising,

 8          preparatory and/or travel time from compensation deprived Plaintiffs from being compensated for

 9          all contractual wages;

10      e. Whether Defendant’s policies and practices of excluding compensable time waiting, exercising,

11          preparatory and/or travel time from compensation deprived Plaintiffs of being compensated the

12          minimum wage;

13      f. Whether Defendant’s policies and practices of excluding compensable time waiting, exercising,

14          preparatory and/or travel time from compensation deprived Plaintiffs from being compensated

15          overtime wages;

16      g. Whether Defendant failed to comply with the itemized wage statements provisions by failing to

17          include travel time and time waiting in the field before the start of the workday, preparatory time

18          and mandatory exercises in each of Plaintiffs’ wage statement;

19      h. Whether Defendant willfully failed to timely pay compensation and wages owed and meal

20          premium period pay to Plaintiffs upon separation from employment by not compensating Plaintiffs

21          for time waiting, exercising, preparatory and/or travel time;

22      i. Whether Defendant violated the Private Attorney General Act; whether Plaintiffs are entitled to

23          damages, including but not limited to unpaid wages, overtime wages, liquidated damages and other

24          penalties; and whether Plaintiffs are entitled to injunctive relief.

25   Defendant categorically denies all such claims.

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 1   4.      Motions

 2           Plaintiffs filed a motion to amend in the Superior Court of California, County of Monterey, which

 3   was granted. Plaintiffs will file a motion to strike some of the Defendant FOOTHILL PACKING, INC’s

 4   affirmative defenses in their Amended Answer. Parties will file discovery motions as become necessary.

 5   Any party may file dispositive motions to resolve legal issues.

 6   5.      Amendment of Pleadings

 7           Plaintiffs’ Position:

 8           Plaintiffs propose 120 days (March 15, 2018) from the date of the Rule 26f conference for

 9   amendment of pleadings. This date allows four months of discovery after any final amendments.

10   Plaintiffs believe that discovery, which has just begun, may disclose additional Does who share liability

11   in this matter and may also disclose additional claims, accordingly Plaintiffs believe it is prudent to allow

12   sufficient time for amendments while not limiting a party’s ability to defense or serve discovery.

13           Defendant’s Position:

14           In order to prepare for the defense of this case and fully investigate Plaintiffs’ claims, Defendant

15   proposes that Plaintiffs’ deadline to file any amendments to the First Amended Complaint occur by

16   January 15, 2017 at the latest.

17   6.      Evidence Preservation

18           Parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored

19   Information (“ESI Guidelines”). On November 15, 2017, Parties met and conferred pursuant to Fed. R.

20   Civ. P. 26(f) regarding reasonable and proportionate steps to be taken to preserve evidence relevant to the

21   issues reasonably evident in this action. Plaintiffs agreed to preserve documentary and electronic evidence.

22   Defendant FOOTHILL PACKING, INC. agreed to preserve documentary and electronic evidence with

23   respect to all items potentially related to the issues involved in this action.

24   7.      Disclosures

25           Initial disclosure pursuant to Fed. R. Civ. P. 26 will take place on November 29, 2017.

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 1   8.        Discovery

 2             Plaintiffs JESUS ABRAHAM LOPEZ-GUTIERREZ, ALAN ULISES MEZA-LUGO served Set

 3   One of Request for Production of Documents, to which and Defendant FOOTHILL PACKING, INC. has

 4   recently answered. Plaintiff JESUS ABRAHAM LOPEZ-GUTIERREZ served Set Two of Requests for

 5   Production of Documents.

 6             Parties have agreed that service of Request for Admissions to authenticate documents will be

 7   mutually acceptable outside the discovery period.

 8             The scope of the discovery is Plaintiffs’ payroll records encompassing four years back from filing

 9   of this lawsuit and payroll records for aggrieved employees covered by PAGA encompassing one year

10   back from the date of the mailing of the Notice of Labor Law Violations to the Labor and Workforce

11   Development Agency and Defendant FOOTHILL PACKING, INC. on May 8, 2017.

12             An identified discovery dispute is the scope of the disclosure of PAGA aggrieved employees’

13   information. Plaintiffs argue that they are entitled to the names, contact information and payroll records

14   of non-exempt employees employed during the PAGA relevant period. Williams v. Superior Court, 3 Cal.

15   5th 531, 220 Cal. Rptr. 3d 472, 398 P.3d 69 (2017). Defendant FOOTHILL PACKING, INC. argues that

16   Plaintiffs are not entitled to aggrieved employees names and contact information without issuing a proper

17   Belaire notice. See Belaire-West Landscape, Inc. v. Superior Court (Rodriguez) 149 Cal.App.4th 554

18   (2007).

19   9.        Class Actions

20             Not Applicable. This is not a class action.

21   10.       Related Cases

22             Plaintiffs are not aware of any related cases or proceedings pending before another judge of this

23   court, or before another court or administrative body. Parties are aware of a settlement that took place in

24   2016 in Isidro Perez Silva v. Foothill Packing, Inc., involving similar wage and hour issues in a different

25   time frame.

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 1   11.    Relief

 2          Plaintiffs seek unpaid contractual, minimum and overtime wages, according to proof, plus interest

 3   on that amount. Plaintiffs seek liquidated damages in an amount equal to the amount of unpaid minimum

 4   wages. Plaintiffs seek meal premium wages to be calculated at one hour pay at the contractually promised

 5   hourly wage or Plaintiffs’ average hourly piece rate earning for that period, whoever is higher, for each

 6   day workday that Plaintiffs worked five or more hours. Plaintiffs further seek statutory damages for failure

 7   to provide accurate itemized wage statements, in an amount to be proven at trial, or in the alternative,

 8   $50.00 for the first violation and $100.00 for each subsequent violation up to a maximum of $4,000.

 9   Penalties for failure to pay compensation due at time of discharge in an amount of thirty (30) days’ wages

10   at the higher of Plaintiffs’ average hourly piece rate earning or the contractually mandated hourly wages

11   for each season. Plaintiffs seek to recover civil penalties including underpaid wages for themselves and

12   other aggrieved employees under PAGA. Monetary damages as allowed under California Business and

13   Professions Code §§ 17200 et seq. Plaintiffs seek injunctive relief, such as change of policies and training

14   of supervisory personnel on the new policies to correct past and prevent future violations of California

15   Labor Code. Plaintiffs will also seek Attorney’s Fees and Costs.

16          Plaintiffs are unable to state with certainty the amounts owed by Defendant because of Plaintiffs’

17   lack of access to information necessary for such calculations, including but not limited to documents and

18   other evidence reflecting hours worked and wages paid, the number of required meal periods not

19   provided, and the number of persons who separated from employment without being paid wages due.

20   Most of this information is under the control of Defendant. Accordingly, Plaintiffs must conduct

21   discovery and additional informal investigation on these issues before they can provide an estimate of

22   the monetary relief sought.

23   12.    Settlement and ADR

24          Parties discussed ADR options at the 26(f) conference and discussed scheduling a private

25   mediation as well as court-program mediation for June 2018, as well as court-program mediation.

26   Plaintiffs require full discovery before mediation.

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 1   13.      Consent to Magistrate Judge for All Purposes

 2            The parties do not consent to have a magistrate judge conduct further proceedings.

 3   14.      Other References

 4            The parties do not believe this case is suitable for references.

 5   15.      Narrowing of Issues

 6            Given that this litigation is in its early stages, the parties have no proposal for narrowing the issues

 7   at the present. Bifurcation of issues may be necessary because equitable relief is requested in this action,

 8   the parties have agreed to discuss any potential bifurcation as the case progresses.

 9   16.      Expedited Trial Procedure

10            The parties do not believe this case can be handled on an expedited basis with streamlined

11   procedures.

12   17.      Scheduling

13   Proposed dates:

14         1. Designation of Plaintiffs’ experts: May 15, 2018.

15         2. Designation of Defendant’s experts: May 25, 2018.

16                a. Rebuttal experts: 40-days from date of designation.

17         3. Discovery cut-off: July 16, 2018

18         4. Deadline to file motion for summary judgment: September 29, 2018.

19         5. Pretrial conference: November 15, 2018.

20   18.      Trial

21            Parties have demanded jury trial but there are equitable causes of action in this case so bifurcation

22   will be required. Expected length of the trial is one to two weeks; parties should be able to give a better

23   estimate after the end of the discovery period.

24   19.      Disclosure of Non-party Interested Entities or Persons

25            Parties have filed the Certificate of Interested Entities or Persons and had no non-party interested

26   entities to disclose.

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 1   20.    Professional Conduct

 2          All attorneys of records for the parties have reviewed the Guidelines for Professional Conduct

 3   for the Northern District of California.

 4   21.    Other

 5          None known.

 6
     DATED: November 29, 2017                    ____/s/_________________________
 7                                               Ana Vicente de Castro
                                                 CALIFORNIA RURAL LEGAL ASSISTANCE
 8
                                                 Attorneys for Plaintiffs
 9

10   DATED: November 29, 2017                    ____/s/_________________________
                                                 Jennifer M. Schermerhorn
11                                               Rebecca A. Hause-Schultz
12                                               SAQUI LAW GROUP
                                                 Attorneys for Defendant
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 1                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, Ana Vicente de Castro, attest that I have obtained the concurrence of Blanca A. Bañuelos, R.

 3   Erandi Zamora, and Amanda Caldwell, counsel for the Plaintiffs; and Michael C. Saqui, Jennifer M.

 4   Schermerhorn, and Rebecca A. Hause-Schultz, counsel for Defendant, for the filing of this Joint Case

 5   Management Statement and Rule 26(f) Report. I declare under penalty of perjury under the laws of the

 6   United States of America that the foregoing is true and correct.

 7

 8          Executed this 29 day of November, 2017, at Salinas, California.

 9                                                        CALIFORNIA RURAL LEGAL ASSISTANCE,

10                                                        INC.

11
                                                              By: _____/s/______________
12                                                            Ana Vicente de Castro
                                                              Attorneys for Plaintiffs
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